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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

RANDALL BYRNE, DAVID
KLEUSKENS, JERRY HENRY, JASON
WEBER and SUSAN FOSTER-HARPER,
on behalf of themselves and all others             Case No. 20-cv-00712-CSH
similarly situated,

            Plaintiffs,
       v.

CHARTER COMMUNICATIONS, INC.,
CHARTER COMMUNICATIONS                             JUNE 30, 2020
HOLDINGS, LLC, CHARTER
COMMUNICATIONS OPERATING, LLC,
and SPECTRUM MANAGEMENT
HOLDING COMPANY, LLC,

             Defendants.

            MOTION FOR ADMISSION OF DANIEL M. HATTIS PRO HAC VICE

       In accordance with the provisions of Local Rule of Civil Procedure 83.1(d) of the United

States District Court for the District of Connecticut, the undersigned on behalf of Plaintiffs

Randall Byrne, David Kleuskens, Jerry Henry, Jason Weber and Susan Foster-Harper, on behalf

of themselves and all others similarly situated, hereby moves for the admission pro hac vice of

Daniel M. Hattis, Hattis & Lukacs, 400 108th Avenue NE, Ste. 500, Bellevue, WA 98004, as a

visiting attorney.    Attorney Daniel M. Hattis’s telephone number is (425) 233-8650.         His

facsimile number is (425) 412-7171. His e-mail address is dan@hattislaw.com.

       Attorney Daniel M. Hattis is a member in good standing of the bars of the State of

California, the State of Washington, the United States Court of Appeals for the Ninth Circuit, the

United States District Courts for the Northern, Central, Eastern and Southern Districts of

California and for the Western and Eastern Districts of Washington.

       Attorney Daniel M. Hattis has no pending disciplinary complaints as to which a finding
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has been made that such complaint should proceed to a hearing.

         Attorney Daniel M. Hattis has not been denied admission to, been disciplined by,

resigned from, surrendered his license to practice before, or withdrawn an application for

admission to practice before this Court or any other court, while facing a disciplinary complaint.

         Accompanying this motion is the unsworn declaration under penalty of perjury of

Attorney Daniel M. Hattis stating that he has never been denied admission or disciplined in

accordance with these Local Rules nor has he been denied admission or disciplined by any other

court.

         Attorney Daniel M. Hattis is fully conversant with the facts presented by this case and

will be fully prepared to represent Plaintiffs in all proceedings before this Court.

         Pursuant to Local Rule 83.1(c), Attorney Hugh W. Cuthbertson, who is a member of the

bar of this Court (#ct04133) and who has an office within the District of Connecticut, is

designated as local counsel for service of papers.

         For the foregoing reasons, it is respectfully requested that Attorney Daniel M. Hattis be

admitted to the bar of this Court pro hac vice and be permitted to appear on behalf of Plaintiffs

Randall Byrne, David Kleuskens, Jerry Henry, Jason Weber and Susan Foster-Harper, and on

behalf of all others similarly situated, for all purposes.

         Pursuant to Local Rule 83.1(d)(3) the fee of $200.00 payable to the Clerk of the District

Court accompanies this Motion.




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                           Respectfully submitted,



                           By: /s/ Hugh W. Cuthbertson
                             Hugh W. Cuthbertson, #ct04133
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                             Attorney for Plaintiffs




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